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                                   United States District Court
                                   Northem District of lllinois

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1:20+ve4tr,19
Judge Jorge L Abnso                                                                         JUL o e   2020
IUagistrate Judge young
                        B. Kim                                                       THOMAS G. BRUTON
                                                                                   CLERK, U.S. DISTRICT COUR,

                                                            )
                                                            )        Dept. of Laborcase#: 2019CFPOOOO11
                    DelSignore v. NOKIA of America )
                                                            )         Jury Trial Demanded
                                                            )
                                                           )


          Now and here comes before this court Plaintiff Dr. Kenneth Del Signore to bring charges against

       the Defendants for employment harassment, discrimination and termination that resulted after

       the plaintiff uncovered and reported evidence that showed        a   wire fraud was being committed by

      Verizon in order to cause false claims to be made to the US govemment, which then cause

       inflated federal subsidies to be paid to a network of politically connected shell corporations in all

      50 states.




      Contents:
                               paragraph:
                                  1                      introduction
                                  12                     jurisdiction
                                  15                     parties
                                  24                     allegations
                                  59                     charges
                                  63                     requested relief
                                  64                     list of attachments




      1
          search   box: https://www.oalj.dol.gov/#
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lntroduction




1:   This matter concems the fraud in the Universa! Service Fund, which is a federal subsidy

regime that collects approximately $t.50 per month from every US phone      bill.   This collected

money is then distributed to a network of 2400 small telecom corporations that all do three

things in common:

     A)   they receive USF subsidies for tetecom services they provide in remote areas

     B) they rent equipment     from the large telecom companies to provide these services

     C) executives at these   2400 companies (+ spouses) make large annual contributions to

          congresspersons.




2:   ln 2009, while working at Nokia (then named Lucent) as an industry leading expert in the

field of telecommunications system performance, the plaintiff uncovered an anomaly in the

performance of Verizon's switching systems that were providing cellular telephone data service

in the United   States. Nokia   is the manufacturer of these systems and at that time was under

contract with Verizon for performance optimization of these cellular switching systems.




3: This performance anomaly turned out to be evidence of a wire fraud being committed by

Verizon in order to cause increased messaging between cellular phones and cell towers.

Counts of these messages      are reported to the government and USF subsidies are paid out

based on the number of messages sent between the cell phones and towers. By inflating the

messages between the phones and the towers, government subsidy payments are fraudulently

increased.
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4:   ln 2009, the true nature of the anomaly was unknown to the Plaintiff and his colleagues. The

anomaly was however causing a significant performance degradation in the Verizon cellular

network and was therefore of great interest to myself and my     colleagues. The plaintiff

discovered that the anomaly was being caused by a single parameter setting of the switching

systems (referred to as (!_drop_int), meaning "threshold drop intercept") and I proposed a test

on the Verizon network, in a single US city, to modifu the parameter and observe the change in

system performance. The test was approved by Verizon and executed, however the test was

sabotaged such that there was no change in system performance. I was subsequently able to

show that the system parameter had not been modified in the test     city, however allVerizon      and

Nokia personnel that I had been working with on the test stopped responding to me and the test

was abandoned.



5:   Following this event, I was internally blacklisted and not allowed to advance further in my

career. Specifically, during the period 2010-2015, as cellular phones were evolving from 3G to

4G, all of my work in the new 4G system was blocked and I was blacklisted from joining any

new 4G    projects. The 3G system was however critical to US cellular phone service and my

expertise in the system was greatly needed by Nokia at this time. I believe that Nokia intended

to retain me as an employee until I was no longer needed to maintain the 3G system and then

to place me in the next company wide RIF (reduction in force) that occuned, which typically

happened annually or bi-annually.



6:   By 2018, the 3G system was no longer the primary system in the US and my career had

devolved to the point where I was working as a maintenance technician and I had become

adversely affected by these events to a great extent. ln May 2018, following the anomalous
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 cancellation of yet another 4G project that I had proposed, the Plaintiffwent on a short term

 disability leave due to the stress and duress caused by my ongoing career dectine.



 7: At that time, I filed an internal ethics   complaint. Nokia, as a large public corporation, is

 subject to the Sarbanes Oxley law that requires them to implement a publicly accessible
                                                                                         system
 for employees to report ethics complaints and requires that the company respond to the

 complaints. The Nokia in house counseltook my complaint in May z}1},and subsequenly

 responded, in July, that there was no evidence of wrongdoing related to my 201g project,

 however in attempting to explain the details that I had given in my ethics complaint,
                                                                                       they
divulged further information that allowed me to tie the events of 2O1B to earlier anomalous

events in 2014 and 2015.



8:   Concurrent with the above developments, reports began to appear in the media about
                                                                                        an

FCC jurisdiction lawsuit regarding changes to Universat Service Fund subsidy
                                                                             that resulted in
Jan 2017, then Ajit Pai became Chairman of the FCC and he enabted the (acam) USF

subprogram. The lawsuit was between the large telcos (Verizon, Sprint, AT&T, and T-mobile)

and a coalition of small telcos based in rural Oklahoma. Details reported of this lawsuit
                                                                                          that
were reported in the media allowed the Plaintiff to associate my cancelle d 2O1B project
                                                                                         with the
matters detailed in the FCC lawsuit and the Universal Service Fund subsidy and to
                                                                                  better
understand the nature of the wire fraud being committed.



9: ln lateAug 2018, I began sending daily emails with details of this fraud and the association
                                                                                                to
my 2018 canceled project to senior company managers. Following an email on Aug
                                                                               31st,
2018, that implicated a VP level executive at a separate US owned company named
                                                                                Lucent
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Government Services (that does security related projects on the US cellular phone systems),

Nokia took multiple actions against the Plaintiff that are in violation of Federal and State

whistleblower laws, including:



       a verbalthreat delivered by telephone that my remaining disability benefits would be cut

       off if I did not "stop sending emails to everyone"

       my computer and netwok access being disabled

       my building access being cancelled

       a telephone call on 19 Sept 2018 from a woman at Nokia, possibly the in-house counsel

       posing as a Nokia disability nurse, to my treating FMLA healthcare provider to leave

       excessive negative feedback about my mental state prior to the healthcare provider

       returning a "return to work assessment" that was required for my retum from my FMLA

       short term disability leave.

       terminating me in Nov 2018 when my short term disability benefits expired.

       Additionally, one of the named defendants, Neil Bernstein, may have been seen by the

       Plaintiff in a parked and running car behind the Plaintiff's house in March 2019 during

       discovery of the DOL   trial.   The car was noticed twice over a five minute interval and

       then sped off when the plaintiff stepped out of his back door and waived to the driver.




10: ln Oct 2018, the Plaintifffiled an OSHAcomplaint, claiming standing for SOX and CFPB

whistleblower violations. ln a 30 minute phone call with the OSHA investigator, Shawn

Harrington, on the day after I filed my complaint, I was told that my complaint needed to go to

an Administrative Law Judge at the DOL, and that the quickest way to do so was for the OSHA

investigator to deny the complaint on that day, and that 30 days after the denial, I could request
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a "SOX kickout" and move the case the the Dept. of Labor. The OSHA inspector told me that

this procedure would satisfy the SOX requirement that I exhaust my administrative remedies

with OSHA before advancing the matter to DOL.



11: ln Nov 2018, the plaintiff requested this SOX kickout and filed suit in the Dept. of Labor.

The plaintiff issues an amended complaint ffiachment Al in Feb 2019 and discovery ended in

Dec 2019 and motions for summary judgement were submitted in Feb 2020. ln June 2020, the

DOL court ruled on motions for summary judgement that the plaintiff had not successfully

argued for standing under SOX or CFPB [Attachment          B].   The DOL court overtly did not

consider my arguments for standing in the most favorable light to the plaintiff, and thus the

Plaintiff is moving the case to the Northem District of lllinois at this time.




Jurisdiction




12: The plaintiff claims standing under the whistleblower protections of the Sarbanes Oxley and

Consumer Financial Protection Bureau statutes. The Plaintiff is allowed to remove the existing

SOXCFPB DOL case to Federal District court anytime after 180 days of filing a complaint with

the DOL and before the Sec. of Labor issues a final decision. The ALJ ruling on standing was

made on June 26th [Attachment A] and becomes the final decision of the Sec. of Labor after 14

days of the ALJ's ruling which is on July 11th,2020.. This lawsuit is thus filed within the

allowed time window to remove the case from the DOL.
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 12A:

  The SOX statute states:

         18 U.S. Code S 1514A. Civil action to protect against retaliation in fraud
                                                                                    cases
         (1)to provide information, cause information to be provided, or otherwise
                                                                                   assist in an

         investigation regarding any conduct which the employee reasonably believes
                                                                                    constitutes
         a violation of section 1341, 1343. 1344, or 1348, any rule or regulation of
                                                                                     the Securities
         and Exchange Commission, or any provision of Federal law relating to fraud
                                                                                    against
         shareholders, when the information or assistance is provided to or the investigation
                                                                                              is

         conducted   by-
           (C)a person with supervisory authority over the employee (or such
                                                                             other person
           working for the employer who has the authority to investigate, discover,
                                                                                    or terminate
           misconduct);or




The plaintiff will show that the defendants took retaliatory action against me
                                                                               after I reported
evidence of wire fraud, which is a violation section 1343 above.




128: underthe consumer Financial protectionAct of 2010 (cFpA):



        sl057. EMPLOYEE PROTECTTON.

        (a) ln General - No covered person or service provider shall terminate
                                                                               or in any other
        way discriminate against, or cause to be terminated or discriminated against,
                                                                                      any
        covered employee or any authorized representative of covered employees
                                                                               by reason of
        the fact that such employee or representative, whether at the initiative
                                                                                 of the employee
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           or in the ordinary course of the duties of the employee (or any person acting pursuant
                                                                                                  to
           a request of the employee), has -




        (1) provided, caused to be provided, or is about to provide or c6tuse
                                                                              to be provided,
        information to the employer, the Bureau, or any other State, local, or Federal, government

        authority or law enforcement agency relating to any violation of, or any act
                                                                                     or omission that
        the employee reasonably believes to be a violation of, any provision of this
                                                                                     tifle or any other
        provision of law that is subject to the jurisdiction of the Bureau,
                                                                            or any rule, order, standard,

        or prohibition prescribed by the Bureau;




12C: The Plaintiff will argue that he is a "covered person" under the
                                                                      CFpB statute because he
was an employee of a subcontractor (Nokia) to a "service providef (the large
                                                                             telcos) of a
consumer financial product. The plaintiff will additionally argue that the
                                                                           $1.sO/month fee on
every US phone bill qualifies as a consumer financial product under the law.




13: The plaintiff claims standing under the whistleblower protections of the False
                                                                                   Claims act
because the underlying matter is related to a false claim being made
                                                                     to the govemment. Under
(31   us 3730 (h)(1)):
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           Relief From Retaliatory   Actions.-

            (1)ln   general.- Any employee,      contractor, or agent shall be entifled to all relief

            necessary to make that employee, contractol or agent whole, if that employee,

            contractor, or agent is discharged, demoted, suspended, threatened, harassed, or in

            any other manner discriminated against in the terms and conditions of employment

            because of laMul acts done by the employee, contractor, agent or associated others

            in furtherance of an action under this section or other effofts    to   stoo   I   or more

            violations of this subchaoter.




    The Plaintiff will give technical details that show that my attempts, beginning in 2009,
                                                                                             to

    conect the (t-drop-int) parameter, would have affected the false claims being made to the

    government, and thus my actions constitute an "effort to stop 1 or more violations"
                                                                                        of the
    False ClaimsAct.




14: This plaintiffwillalso claim standing under lllinois WhistleblowerAct, (740lll. Comp.
                                                                                          Stat.

174115) which explicitly provides for a relaxed burden of proof, ie the employee must
                                                                                      onty have

a   "reasonable cause to believe that the information discloses a viotation
                                                                            of a federal law, rule,
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or regulation".

         (74O ILCS 174/Ls')
       Sec. 15. Reta-Ii.ation for certain disclosures prohibited.
         (a) An employer may not retaliate against an employee who
   discroses information in a court, an admini.strative hearing, or
   before a legislative commission or comnlttee. or in any 6tner
   proceeding, uhere the earployee has reasonable cause to believe
   that the information di.scloses a violation of a state or federaL
   IaH, rule. or regulation.
        (b) An employer may not retatiate against an employee for
   disclosing information to a government or law enforcement
   agency, where the empl0yee has reasonable cause to believe that
   the information discloses a vlolation of a state or federal raw.
   ru1e, or regulation.
   (Source: P.A. 95-129, eff. 1-1-08. )




144: The plaintiffwill additionally claim standing under the lllinois WhistleblowerAct for events

dating to 2010, specifically:




        (740 |LCS 174t20.1)

          Sec. 20.1. Other retaliation. Any other act or omission not otherwise specifically set

       forth in this Act, whether within or without the workplace, also constitutes retaliation by

       an employer under this Act if the act or omission would be materially adverse to a

       reasonable employee and is because of the employee disclosing or attempting to

       disclose public corruption or wrongdoing. (source: p.A. g6-sss, etr g-19-0g.)
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    The plaintiff will present evidence that on multiple occasions, starting with my 200g Verizon test

    and leading through to my 2018 canceled project, that my actions would have disclosed

    evidence of public com.rption (wire fraud to inflate subsidy payments), and therefore qualify as

    an "attempt to disclose wrongdoing", and that I was vigorously and personally retaliated against

    as a result and that I therefore have standing under (740 ILCS 174120.1).




Parties




15: Ken DelSignore


A former physicist at Fermi NationalAccelerator Laboratory that moved to Nokia (then called

Lucent) in    1999. I was in a group   of approximately 50 physicists that moved from FNAL to

Lucent in the late '1990s. I worked as a software developer for 4 years and then advanced into

an architecture position. Between 2003 and 2010,1 proposed and developed a series of

technically and financially successful projects on the company's 1x voice and 3G data systems2.



'ZOt30O59S82 Adaptive User Equipment Registration for Communication Networks
20100120451 Method for paging a mobile unit based on previous network interactions
20090093263 conservation of paging resources in a mobile switching center
2OO8O161OO7 VACATING LOW USAGE PACKET DATASESSIONS IN AWIRELESS
COMMUNICATION SYSTEM
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Additionally, in 2007 and 2014 I published articles in Bell Lab Technical Journal regarding my

R&D work in telecommunications3




16: Carl Spies, my manager at the time of the 2009 Verizon test. ln 2004, Carl and I had

invented a major architectural feature called "adaptive paging". One of the beneflts of this

feature was that it reduced voice call setup time to a cellular phone by 5 seconds on

approximately 2 million phone calls per day (which shortens the wait of the person making the

call).   By 2009 I was working largely unguided by Carl, however after I began working on the

Verizon test in late 2009, Cad said to me "l need to know what you are working on',.




17: Ming Hsu-Tu, my managerfrom 2010 to 2013. I was demoted from Carl's group to Ming's

group in 2010 (Exhibit L, p. L72). Ming also made the statement to me "l need to know what

you are working   on".   I believe Ming was aware of the blacklisting and did his best to mitigate

damage to my career, including helping to get my 2014 Bell Labs Technical Joumal article

approved for publication.




2OO8O1 61 OO4     ALLOCATING MEMORY TO LOW USAGE PACKET DATA SESSIONS I N A WI RELESS
COMMUNICATION SYSTEM
20080101316 Method of excluding ineffective inter system page attempts 20070293245 Conservation of
paging resources in a mobile switihing center
20070281661 Method for determining if a mobile unit is transient
20060293037 Method for alerting a mobile unit of a missed call upon movement of the mobile
20050130624 Generating one or more triggered operations to prepaid service node based on connection
with intelligent peripheral component
3
  htto://onlinelibrary.wiley.com/doi/1 0.1 002/bttj.20241 /abstract
http://onlinelibrary.wiley.com/doi/1 0. 1 002/bttj.21 651/abstract
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 18: Kevin Menke, my manager from 2013 to 2015. I was demoted from Ming's group into

 Kevin's group in 2013 and I barely ever had any interactions with him until an event in 2014

described herein as the "bicycle meeting" in which Kevin attempted to goad me into an

insubordinate public response which I believe would have been used as a pretext to fire me.




19: Neil Bernstein, Kevin Menke's manager. ln 2015, after I had proposed repeating my

(!-drop-int) test from 2009, Neil attempted to fire me with a second attempt at goading me into

an insubordinate public response, described herein as the 1.5 sigma meeting. I first met Neil in

2013 when he was promoted to be Kevin's manager.




20: Chris Miranda, a senior executive at Lucent Government Services. Chris was a manager

parallelto Carl Spies at the time I was in Carl's group and we knew each other. Chris left

Lucent in 2006 and became a VP at      LGS. At the time Chris knew me, I used to send April
Fools Day jokes company wide on an internal messaging system, but I stopped doing so around

2008.    I believe Chris authorized an April Fools Day joke job offer to be sent to me on Linkedin

from an LGS recruiter on April 1st, 2016, five months after I had been demoted from Kevin

Menke's group into a "tester" position in a separate department from    Neil's. lt was a copy of
this fake job offer that I shared in an email on Aug 31st, 2018 that provoked a panicked

response by Nokia   that resulted in the first listed charge below for a telephone threat that was

made several hours aftenrard the emailwas sent.



21:   Christi Gliori, a Nokia disability advocate nurse that was assigned to me when I went on

short term disability in May   2018.   Christy delivered the telephone threat to me on Aug 31st,

after I exposed the LGS april fools day joke. ln this call she seemed nervous, like she had just
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 been in an urgent meeting. Additionally, Nokia has submitted an electronic log to the DOL court

 as part of motions for summary judgement that details a telephone call on Sept 19th, 2019,

 between Christi and my treating FMLA healthcare providel Kara Mulligan, in which Christy

gives Kara excessive negative feedback about my mental state. Details of my clinical visit from

May 2018 also appear in the log of this same phone calt and Kara Mulligan denies divulging this

information. lt appears that Nokia obtained my FMLA medical records from MetLife after they

were submitted as part of my short term FMLA medical disability and that the electronic log was

falsified using information from those medical records. The nature of this call is highly derisive

to the Plaintifi, as confirmed by Kara Mulligan, and it would be highly unusualfor a professional

nurse to have such a conversation. lt is more plausible that the log was either falsified

aftenrards, or that Christiwas not the person actually talking to Kara Mulligan.



22: Sonya Zeldone, Nokia's former "lead compliance counsel for          the Americas Region", until

approximately Nov 2019. Sonya handled my ethics complaint in 2018 and was responsible for

divulging additional details to me that allowed me to piece together the fact that the adverse

career events I had experienced since 2010 were all     related. Sonya lost her employment at
Nokia in Nov 2019 after the ALJ Judge allowed discovery to end in my DOL         suit.   lt appears

that Sonya was not aware of the nature of the matter underlying my ethics complaint and did not

know that I would have standing under SOXCFPB/False Claims, and she took overt actions

that violated the employee protections in these statutes. I believe Sonya falsified the electronic

log of the telephone call to Kara Mulligan in order to establish a defense against my termination.

She may have also been posing as Christy in the callto Kara Mulligan, as Kara confirms that

the caller made multiple derisive statements about the Plaintiff, and this would be a highly

implausible action for Christy, who is a professionat nurse, to take.
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23: Brett Behrens, my "tech team lead" from 2015 to 2017. I was laid ofi by Kevin Menke in

September 2015, but was ofiered a demotion into Brett's team at the layoff meeting, which     I


eventually accepted. As soon as I entered Brett's team, I was told that large additional layoffs

were coming and I should start looking for other jobs in the company immediately. I believe

now that I was only offered the demotion into Brett's team because of the anomatous behaviour

of Neil Bernstein regarding the attempt to goad me into insubordination and other events, and

that Neilwas worried I would file a wrongful discharge suit.

 Brett is one of only a few of my former colleagues that will still communicate with   me. I spoke
to Brett immediately after Christy made the telephone threat and described it to him and he has

signed a swom statement to such [Attachment E].




Allegations




24: These allegations have been fully described in the DOL Feb Complaint [AttachmentA] and

associated "Exhibit L", [Attachment C] and will be repeated here and condensed, drawing

heavily from the material developed during the previous discovery in the DOL case.




25: There are two different forms of wire fraud being committed that correspond to two separate

subprograms of the USF. The plot below shows that funding to these two subprograms is

increased or decreased depending on which political party controls the White House.
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25a: The plot ( from Exhibit L, p. 14) shows payment data from the USF subsidy broken down

by sub-program. The plot was generated          fom     USF payment data as described in exhibit K) of

the Feb complaint. As can be seen, there are large sudden and percistent increases and/on

decreases in the USF subsidy payouts in the summer of 2004, Feb 2009, Nov 200g, and Aug

2015.




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                        tttlt
                    s*(FsF55ss:555^.ESFssssE555FF5E55S-<ESSSSF


                      dmoootE         &mrt*mc            UEmClrngr      frru      lfunptroqrr
                      dur.            Pralnrt ffi**.,                             grlipAredhnr
                                              .Ih                       ffi-r
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26: A plausible explanation, as described in (Exhibit L tL-28]         ),   for the 50 million dollar per

month increase in 2004 was that the (!_drop_int) parameter was changed in the Verizon

network, and possibly others, and that this caused an immediate nationwide increase in roaming

@unts, which where then reported to the government to cause the increase in subsidy

payments.




27: The (!-drop-int) fraud works by causing increased numbers of cellular phone roaming

operations between the large and smalltelcos service areas (Exhibit L, p. L-28). Notionally, a

roaming operation between a large telco and a smalltelco implies that a cell phone user is in

motion and has crossed between two service areas. However this is not the only scenario that

will generate roaming operations. ln 2009, I had found that the incorrect (!_drop_int) parameter

setting was causing stationary cell phones that are in RF contact with two towers, or two cells

on the same tower, to produce approximately half of all 3G roaming operations in the Verizon

network, nationwide.




       daily commute:                                         dairy home locdfim:


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28: The second form of wire fraud involves a second technical mechanism (Exhibit L, p. L-45).

Roaming gaps on highways have been programmed into the cellular switching systems such

that the phones traveling on these highways are forced to roam to a smalltelco's network for a

short distance, and then they roam back to the large telcos network. The smalltelcos then turn

in counts of these roaming operations for USF subsidy reimbursement.

These gaps were easily visible on commercial heatmap systems that measure network lD and

RF signal strength. This wire fraud mechanism is described in Exhibit L, and the (Feb.

Complaint, Exhibit J)



29:   ln the example shown below, the gap labeled "a" is first seen   on   a heatmap   of   RF

measurements in the AT&T network at a scale of about 200 miles (leftmost image). As can be

seen in the second image from the left, there is an associated small tel@, "Nex-Tech" that

provides service in the   gap.   Zooming in to a much smaller scale on the two rightmost images,

to approx 10 mile scale, it can be seen that the gap in the AT&T market 100% excludes any

AT&T subscribers from receiving service from AT&T in the gap, which is a      smatltown.         lt can

also be seen that the small telco Nex-Tech provides uninterrupted service to the town and

people traveling on the roadways. Exhibit J of the Feb complaint has multiple additional

examples, however, this commercial heatmap tool used to make these images has been taken

taken offline for PC browsers and now only offers limited data display on the mobile app version

of the tool such that the gaps are no longer visible, Exhibit L, p L-63 -> L-6S.
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30: The USF payment data plot above (p. 25a) shows a sudden $60 million dollar per month

increase in the summer of 2015, after the democratically controlled FCC chairman turned on a

newly legislated subprogram of the USF called the "Connect America Cost Model" (cacm). The

(cacm) program was part of bi-partisian legislation dating to 2012 that also included a

subprogram favored by the Republican party referred to as the "Alternative ConnectAmerica

Model" (acam).




31: Exhibit   L (p. L-45) details that the majority of this $60 million dotlars per month went to 7

battleground states, and that increase went to only 2-3 smalltelcos in each state.
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32: Between 2010      and April Fools Day 2016, and then again between Jan and Nov 2018,       I


experienced a series of anomalous and egregious work incidents affected on me by multiple

managers and colleagues. I believe this harassment was based on two underlying causes.




33: The first cause is that on three occasions between 2010 and 2015I had found performance

problems in the nationwide 3G EVDO wireless networks due to specific system parameters that

affected handoff   rates. At each time, the system performance problems were of sufficient

importance that I was able to get my existing management chain to approve field trials of my

proposed parameter changes, however these field trials all ended with anomalous test results,

and strange behaviour from colleagues, including two incidents of severe public harassment in

2014 and 2015 from two separate managers in which I believe the intent was to goad me into

an insubordinate public reaction which could have used as a pretext for dismissal. I now

suspect that my proposed 3G system changes would have affected the handoff rates in the 3G

networks and would have altered the service counts of any smalltelcos that were using these

counts in their annual FCC filings.
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34   I believe the second cause of the harassment I received was due to my ongoing research

work, starting in 2013, with several3rd party companies that were developing smartphone

based test systems for testing the performance of the nationwide wireless networks; followed

by a similar period of harassment in 2018 due to my attempt to develop a similar (and greaily

improved) test system through a Nokia business incubator program. lt appears that around the

spring of 2014, all commercial research and development was halted on the leading 3rd party

measurement systems; presumably because these systems can detect a second form of wire

fraud that was implemented in 2015 as part of the Democratic USF funding mechanism known

as the ConnectAmerica Cost Model program.




35   The initial set of egregious work incidents only stopped after I had been demoted from an

architecture position to a lab tester position in Nov   2015.   I have strong reason to believe that

the last incident was a fake job offer from LGS, sent to me subsequently on April Fools Day

2016; initiated by Chris Miranda (who is a VP at LGS), as a victory dance on the grave of my

career, four months after my demotion.




36   These egregious work incidents resumed starting in Jan 2018 and continued through Nov

2018, at which time I was terminated. I had continued to develop the design of a smartphone

based measurement system (still completely unaware of the industry wide prohibition and the

USF subsidy program) and in Sept 2017, I submitted the latest version of the project, first called

PMUD then Shannon, to the Wireless Design lnnovation Accelerator program. lt was initially

accepted and vigorously supported, due to an expected profitability of > $2M / year, and then

around the end of January 2018, it became just as vigorously "not-supported". I was never told
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that the project was cancelled, but instead was sent on a series of very public wild goose

chases that I believe were intended to be publicly humiliating; as a warning to others to avoid

this work, similar to the previous public incidents in 20i4 and 2015.




37 lt should   be noted that my yearly corporate goals included the topic of smartphone based

measurement topics, going back to at least 2008 (iirc), and that these goals were approved by

my management chain each year.




38   My inability to advance in career, coupled with the public and seemingty personat

harassment starting in Jan 2018,led me to take a medical leave on May 7th for a'\uork related

stress injury". I was driving home from work that Friday and had become depressed and was

very lost in thought on this matter and almost pulled in front of an oncoming car at a right tum on

red. When I got home I sent an emailto my manager stating that I needed to go on a disability

leave. I remained on the STD leave for six months and was eventually terminated from the

crmpany on Nov 7th as described below



38: Between May    and Aug 2018, while on short term disability leave, I was able to determine

that the cause of my career decline was related to the fraud in the USF as described above and

also in the Feb complaint (p. 100 -> 116). ByAugust 27th, the Nokia counsel had ceased to

respond to me.
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43:     I had been aware of my career decline for many years but did not understand the cause       of

it.   When I learned in June that the events that started in 2013 were all connected, it felt as if a

ten pound weight had been lifted off my head, that I hadn't known was there. However, this

matter greatly concerned me in that I was exposing billions of dollars in fraud and that there

were likely many people who could be affected if the ftaud were revealed.



43a At this time I was still   unaware of my potential OSHA legal remedies, therefore I decided

that the best course of action was to establish a witness Iist of peopte internal to the company

and begin emailing the evidence I had and was continuing to develop.




Aug 27th

44     Over the week starting Monday Aug 27th,l began sending out daily updates of my new

discovery to   the witness list. This information was completely unknown to everyone on the

witness list, all of whom each have decades of telecom experience.



45    Also during this week, my daily entireties to Nokia councilfor a further meeting (to continue

discussing the constructive termination agreement I had asked for at the first meeting in June)

went ignored each day until Friday morning, Aug 31st, at approx 6:50am, when I recalled the

April Fools Day communication from LGS in 2016 and sent a screenshot of it to the witness list,

wondering aloud in the email if it was related?
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                 was looking                                                                   Ken. explore         l

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            education for LGS lnnovations. i'rn sure yotr are awire $te are a
            leader in Sre gorernment and commercial lelecom space. We                                               i

            haw our upsr:le office in Lisle, lldrarraticalty increasing in size
            year after year. We are open to a nke salary inrrease for a
            candidate like yourself along with ful berrchts.4O1k 5%, 3
            weeks of vxation. and a T-rhirt & jeans culture.                                   Abcut       l.l€{p

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             Ritey Sanford
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     rl      l(:n Dll Signoru           . B:oB.{M

             this has oot to he the most epir aoril fools dav ioke in written




46     I believe the LGS April Fools                    Day email provoked a panicked response which resulted           in

my getting a callfrom Christy several hours                         later.      She seemed to me in an urgent manner and

mood, and she conveyed to me the statement -"they said tell him to stop sending emails to

everyone".                Christy, who has been a great help but not exactly easy to get a hold of quickly on

administrative matters, started the callwith an unrelated administrative question, which I'm
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assuming was coached. She then changed subjects           and relayed to me that she had just been

in a meeting (which !'m assuming accounted for her urgent manner) and also conveyed to me

the message that they said I was endangering my disability benefits by continuing to send out

emails about an ethics complaint that had been closed.




47   Several minutes after Christy's call, I realized that this was a wet noodle threat and that

there was likely someone at LGS involved. After several more hours of talking with colleagues,

Chris Miranda's name was mentioned as someone who could have afiected the April Fools Day

joke due to his position as a vice president at LGS.



49   Later this same day, at approximately 4:00 pm, the Nokia counsel Tim Mclain, emailed me

saying that he and Sonya (the other Nokia council) were both taking vacation the following

week, but that they would set up a meeting with me for the week after that.



50   I   was at first relieved, but as ! thought about this message some more, it occuned to me

that this was an extremely odd action to take by Nokia    council.   I had just learned 1 week

earlier that the five years of harassment was not a false advertising scheme, but rather it

concerned billions of dollars in tax subsidies and many people could potentially lose many illicit

gains. Then five hours earlier at 11:00am, I discovered that LGS was involved and that I knew

the main perpetrator and that he lived near me.



51   This caused me alarm; after as much trouble as the perpetrators of this scheme had gone

to keep me from understanding what had happened to me, it did not seem logical that five hours

after I figure out the name of possibly the main perpetratol that I'm told to sit tight and wait for a
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week, and they didn't even schedule a follow up meeting. Consequently I continued to email

out daily discovery and analysis.




5 Sept

52   I   was continuing to discuss this matter with colleagues and developing further discovery

through Weds of the following week when my corporate laptop was disabled and my badge

access canceled. This occuned while I was in the building complex at Naperville. I had gone in

to work to discuss this matter with several people, proposing the possibility that I retum to work

into the Wireless division in a capacity related to my cancelled "Shannon" project from early

2018. lt was on this day that the name Pioneer Telecom was mentioned to me by a senior

executive when we were discussing the FCC lawsuit and it's relation to my Shannon project.

When I left the building, my badge beeped as normal, but a door alarm went off when I exited.

When I got home, my laptop would no longer allow me to log in.




53   Following these events, my goalwas to write and submit a new ethics complaint. Without

corporate network access I could not find the link to the external ethics complaint site.

Fortunately I was able to send an email to Tracy Couture, one of the Naperville HR

Ombudsmen, and she supplied me the        link.   I submitted an earlier version of this document as

a new ethics complaint approximately two weeks later [Feb Complaint Exhibit        l].   This internal
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complaint makes the demand that the company self report to the relevant govemment agencies,

FCC, DOJ, FTC, CFPB, SEC,                                           etc... I received the reply below on 3 Oct:


  Ethics Complaint by Ken DelSignore against Nokia and                                                                                    Lucent                                 x tr                rz
  Government Services ii*oxi

 Alesia, Joe (Nokla - US/ilaperville) <Joe.alesia@nokia com>                                                                          e        Ocl 3,20'18, 1'l:5'l     AM *          (h.                :
 to me, Tracy          -
  Hello Ken        -
  By way of introduction, I am a Senior lnvestrgations Counsel on Nok6's Business lntegrity Group. lwas assigned to conduct an
  investigation of the concerns you raised in September (see your attached complaint). I am writing to inform you that we ha\re concluded
 our investigation. The evidence does not substantiate the concems you raised.


  lf you have any questions or concerns, please feel free to contact me at any time_


 Regards, Joe


 Joe Alesia
 Senior Counsel
 Business lntegrity Group, Nokra




       Xen D€l Signorg.kendelsrgnore@rgmarl                     com>                                                                      (tr,   Mon oct 1.20t8, t2 16     p[4 *       t             i
       to tracy coutre        .
       Hello Tracy,
         l'm triting with m update to my sftuaton. l'm rct sule what                ds
                                                                           to do. I believe I have mcovered signilican ilti trust violations in the telecom industry The
       Nokia lawyers aIe complicit .n the sheme trd have actively trEd (unsue$luD to prerent me trom lenning f|e details, including threalening to cut olf my
       disability benelits "if I keF sending email to people about an ethi6 complaint that is closed.,,


         lve submitted my ethics complaint to multiple tederal regulalory agencies including osHA lor the benefits &reat. tt appears to me                       tlal   Nokja, Lcs, md other
       telecom compmies muld be facing srgnifcilt ilti trst lines stemming from his complaint.


       For myselt, I see thre options,
        go back to NOKIA as a help desk ttrhnicim and await next RtF
        sue NOKIA and LGS tor harNment trd loss ol career
           go back to Nokja and build the shannon app.


       I   wuld    prefer the third option md I have staled as much to the Noha lawyers.


       I   don'l   klw     if there are    ffiy   remaining ways you can help   6  lhe ombudmil, but I'm othwbe out ol oplions.            I   do not think returning under the conditions &ai   I
       left   wdd      be fruilful,   $   rr   looks lo me right now like I am being rorced inro the sctrd opton.
       thilks
       i( Pfr



       PS ironically, while on            dasahility I   tmk the elhics cours online. I could annotate   a   cilnter exilple   to almost every item discused in that presntation.
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54   By this time I had leamed of the potential OSHA/ SOX /                                 DF remedy available to me,

therefore following this message, I determined to file an OSHA complaint and proceed with a

SOX harassment    action.           I requested of my manager, the new council Joe, and also Tracy if

my laptop could be tumed on so that I could fully document my complaint, also telling them that

I considered my activity   to be a protected activity under SOX. My request was denied by Joe,

as a result all dates are approximate. Additionally I sent my initial ethics complaint to multiple

federal agencies'tip lines as an email.




                           YOUR REPORT KEY IS:
                           586731106501
                           Write this down and keep this in a sate place!
                           Yo wil ned lour repon key ild trE passrcrd )ou steied to cieck on your   repon in   $e
                           future   s   to trEIe a   tdltr-up.




55 Around    the third week of Oct, with                         -   two weeks left on my short term disability benefits,

Christy notified me she had scheduled two 8 hour mental health examinations in downtown

Chicago on two weekdays in early November (with a company called "lMX") and that I had to

attend and pass this testing in order to retum to                          work.   She also told me "don't worry you will be

able to take breaks




56 I had previously   indicated to Nokia council in my second ethics complaint that if they did

not remediate the underlying issues with the Shannon project, including self reporting to the
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government, that I would initiate a federal action. I therefore took this recent IMX testing

requirement to be an attempt to dissuade me from returning to work from short term disability.

Additionally, it does not seem plausible that Nokia councilwas hoping I would pass this testing

so that I could return to work as a service desk technician (who is not allowed to advance in

career).     Furthermore, I felt this testing would give Nokia 16 hours of material to use against

me in any subsequent federal legal actions, therefore it was my belief that they would have told

me I failed the testing regardless of my performance on the tests.




Telephone Contact Between Nokia and Kara Mulligan on 19 Sept 2018




57: ln Jan 2020,    in motions for summary decision in the DOL suit, Nokia voluntarily submitted

incriminating evidence of the 19 Sept 2018 telephone call to Kara Mulligan. This evidenoe was

submitted in the form of an electronic log of Chriti's interactions with me over the six months that

I   was on short term disability [Attachment   D].   The log entry for the 19 Sept telephone call is

shown below
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         DieabiliLy Medical     NoteE. for-Ken4eEb .Del        Signore, .t99-?8-0030
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  58: The log entry for this phone call is completely out of character with all of the other log

  entries Christi made over the six month period I was on short term disability. Christi is a

  professional disability nurse practitioner, who would not have made such derisive comments to

  another professional nurse practitioner, without having HIPAA authorization, and prior to the

  second nurse practitioner completing a retum to work assessment for a patient under her care.

  Kara Mulligan has subsequently confirmed that the telephone call had an excessive negative

  tone regarding my condition, however she denies making the statements attributed to her in the

  log.
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Sonya Zeldone ceased to be employed at Nokia sometime around November 2019, following a

pre-hearing telephone conference with theALJ judge in which the phone call to Kara Muligan

was identified as a main charge of discrimination under SOX and CFPB.




59:   Charges




     1.   On August 31st, 20184, Cristi Gliori called the plaintiff and delivered a threat to my
          remaining short term disability benefits, saying that "if I continued to send email out
          about an ethics complaint that has been closed, my short term benefits could be cut off
              -  The Plaintiff argues that this verbal threat is a prohibited act of discrimination
                 under the lllinois WhistleblowerAct, SOX, GFPB, and The False ClaimsAct.



     2.   This threat did not stop the plaintiff's daily emails, which continued until Sept. 5th 2018,
          at which time Nokia disabled the plaintiffs work laptop and also cut off the plaintiff's
          building access.
             -    The Plaintiff argues that this disabling of the plaintiffs laptop and building access
                  was a prohibited act of discrimination under the lllinois WhistleblowerAct, SOX,
                  CFPB, and The False Claims Act.




     3. On Sept 1gth, 2018, a telephone     calltook place, without any H|PAAauthorization,
          between a woman from Nokia alleging herself to be Christi Gliori and who gave
          excessively negative feedback regarding my mental state to my treating FMLA health
          care provider Kara Mulligan, prior to my health care provider completing a return to work
          assessment that would have cleared me to retum to work from my FMLA short term
          disability leave.



a
 several hours after the plaintiff sent the email implicating Chris Miranda at Lucent
Government Services.
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             The Plaintiff argues that this telephone call was a prohibited act of discrimination
             under the lllinois WhistleblowerAct, SOX, CFPB, and The False Claims Act.




 4.   ln Nov 2018 the Plaintifi was terminated from Nokia because ! had reported evidence of
      wire fraud and false claims being made in order to affect subsidy payments from the
      Universal Service Fund subsidy.
         -    The Plaintiff argues that the termination violates protections under the lllinois
              WhistleblowerAct, SOX, CFPB, and The False Claims Act.



 5.   Starting in 2010, the plaintiffwas intemally blacklisted and not allowed to advance in
      career because I had attempted, on three occasions, to conect the ((_drop_int)
      parameter, as described herein, and that that action would have alerted federal
      authorities to the ongoing wire fraud.
          - The Plaintiff argues that my acts constitute an attempt to disclose public
               corruption under (740 ILCS 174120.1).
          - The Plaintiff additionally argues for standing under SOX, because I became
               aware of the nature of the 2009 harassment in Jan 2019, after the matter had
               been advanced from OSHAto the DOL and included the charge in an amended
               complaint for the DOL court in Feb 2019. The SOX statute stipulates that the
               180 day statute of limitations applies from the time the plaintiff became aware of
              the violation.
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60:    Requested Relief




61:    The lllinois WhistleblowerAct, SOX, CFPB, and The False ClaimsAct all stipulate that the

affected employee be made      whole. The False Claims Act also has a factor of two multiplier for

lost pay. Howevel since 2010, I have been greatly affected      by this matter such that financial

compensation will not make me whole for the personal damage suffered during this ordeal.




62: For the purposes of estimating financial damages, a reasonable assumption would be that          I



will not be able to work in my professional career at Nokia, nor will I be able to work in telecom

in the same capacity that I would have had the blacklisting not   occuned. Several other

considerations are:


   -     At the time I was terminated, my total annual compensation was approximately 128K,

         including salary bonus and health care premiums.

   -     At the time I was terminated I was 52 years old and had 15 years left until retirement age

         ot 67.

   -     At the time I was terminated, I had not received a raise in 6 years.
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63: For the purposes   of calculating an estimated salary had the blacklisting not occuned, the

plaintiff argues that the current listed base salary of $153K for a senior software engineer at

Lucent Govemment Services on the website glassdoor.com be           used. Average bonus and

healthcare premiums would raise this to approximates 170K; multiptied by 15 years, yields an

estimated financial damage to the Plaintiff of $2.55M. ln principle, the False Claims charge

would double this value because it is all due to lost   pay.   The plaintiff however is not bringing

this matter for some large numeric payout. This matter has greatly afiected me for over 10

years and I beg the court for any appropriate remediation as the Court deems fit.




Respectfully Submitted,




     q0, J            .V             >o          ?CJ
Ken DelSignore
pro-se
1509 PAtterson Ave.
North Aurora,1l.60542
630-346-2993
kendelsignore@gmail.com
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64: Attachments



Attachment   A: February   Complaint to the DOLALJ

Attachment   B:   ALJ ruling on standing issued 26 July 2020.

Attachment C: Exhibit L - this document was written during discovery after the main details of
the wire fraud were more fully understood.

Attachment D: electronic log of Cristi Gliori's interaction with the plaintiff from May-Nov 2018

Attachment E: swom statement of Brett Behrens regarding the telephone threat made on Aug
31st.
